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                                                           CITY OF WILSON
                                                                MINUTES
                                                            JULY     27TH,2OT'7

                                                                        July                 27th,Z}l7         1065 US Highwav   70A for   a
 The City Courcil for the City of Wilsou met at 6:30 p,m. on Thursday,                                   '^t
                                                   regular council meetiag'
l.   Flag salute and PraYer'
2.   Cali meeting to ordcr (Mayor Schaaf)
i    Roll call, dcilaration oi qui** being prcsent' (Mayor SchaaQ
     Alexander - yes, Newby - yes, Segroves * yes, Wainscott - yes'
     Quorum declared'
     City Attorn+y Brett Morton presrllt'
4    |tublic scssion: (15 nrinules no {rction n:ay be taken)
5.   Approval of Minutes of previous meeting -
     Segtoves to aPproYe Minutes from previous meeting'
     Newby second.
     Ahxtlder -     yes, Newtry    - yes, Segroves -       yest Wainscott - yes'
     Motion carried 4:0.
6.   Approval of Pun hase Ordors and Claims'
     Nlwby motioned to spproYe Purchase Orders and Claims'
     Wainscott second'
     An"unO.t -     yes, Newby     -   yes, Segroves   -   yes, Waiuscott - yes'
     Motion corricd 4;0'
7    New Business:
                                                                                  Grant'
             A.    Discussion, consideration, and take action on SODA Reap
                                       lo appty for soDA   Rcap  Grant  for Digiticket and GPS mapping for water lines
                   scgroves mofioned
                   and meters'
                   Newby second
                   Alerander - yes, Newby - yes, Segroves - yest Wainscott -
                                                                                yes'
                   Motion carried 4;0.
                                                and take astion on purposing a vote ofths residences for an
                                                                                                             inorease
             n.    Discussion,
                               "JnrlOlrutioq
                   ftom .O325P/o Io .04Yo increasing Street Sales by  '075%'
                   NewbY motioned to table.
                   Alexander second.
                   Alexander * yes, Nowby - yes, Segroves -yes' Warnscott - yes'
                   Motion carried 4:0.
                                                                                            Police Chief Felix
             c.    Discussio", rorrio"*tior, and take agtion on accepting retircment of
                   Hernzuldez,
                                                                                   Chief Felix Hernandez'
                   Newby mo-tloneO to accept letter of retirement letter of Police
                   Segroves second.
                                                                     -    yes' Wainscott     -   yes'
                   Alexander - yes, Newby        -   yes, Segroves
                   Motion carried 410'                                                                                                     of
             p. piscussiJn,                            and take a<,tion on appointing Captain Kevin Coley as
                                                                                                             interim chief
                   police,         "onuiOerutlon,
                   NewbymotionedtoappointCaptainKwinColeyasinterimChiefofPolice.
                   Segroves second.
                   Alexander - yes, Newby        - yes, Segroves - yes' Wainscott -              yes'
                   Motion carried 4:0'
              B.   niscussiJn, ,Jnrlo"rution, and take ection on amending any
                                                                                 city ordinance that allows enyone to
                                                                           illowed  by state statues, the presiding
                   void or ,;i;;;ttt;;ine;     violetions other than rhose
                   judge or issuing ofticer'(NewbY)
                   Newby ruotioned to strike'
                   Alexander second.
                   Alexauder   -   yes, Newby    *   yes, Segroves    -   yeso   Wsinscott   - yes'
                   Motion corried 4:0


                                                                                                                                 DEF 0706

                                                                                                                                               EXHIBIT
                                                                                                                                   T
                                                                                                                                   o
                                                                                                                                   g
                                                                                                                                                9
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                                                                                                         improving
             F.     Discussion, consideration, and take adion on looking fo: land, purohasing said land,
                    said land and building an RV/Travel  Trailer Park'(Newby)'
                    Newby motioned to look for land to build an RV/Travel Trailer Parlc
                    Alexander secoud.
                                                                     -   yest       Wainscott   -   yes'
                    Alexander   -   yet, Newby   -   yes, Segroves
                    Motion carried 4:0
8.   Reports from departnent heads'
9.   Comments and inquiries from council.
10. Adjoum,
    Newby motioned to adiourn,
    Segroves second'
    AlJxander - yes, Newby - yes, Segroves             -   yes, Wainscott       '   yes'
     Motion carried 4:0'


                                                           Adjourned 6:55 p.n.




Frank         Mayor                                                                 fuin

                                                                                                           D
                                                                                    Ron




        Segroves,




                                                                                                               DEF O7O7
